             Case: 22-50834       Document: 98       Page: 1      Date Filed: 06/16/2023

                                FEDERAL PUBLIC DEFENDER
                                   WESTERN DISTRICT OF TEXAS
MAUREEN SCOTT FRANCO                FEDERAL BUILDING • HEMISFAIR PARK                     TELEPHONE
 FEDERAL PUBLIC DEFENDER      727 E. CÉSAR E. CHÁVEZ BOULEVARD, SUITE B-207             (210) 472-6700
                                      SAN ANTONIO, TEXAS 78206-1278                       TOLL FREE
  HORATIO R. ALDREDGE                                                                   (855) 867-3570
  CHRISTOPHER J. CARLIN                                                                   FACSIMILE
                                                                                        (210) 472-4454
   ANTHONY J. COLTON
                                            June 16, 2023
     JOSEPH CORDOVA
                                                                                           ALPINE
      LEWIS GAINOR
                                                                                           AUSTIN
    EDGAR H. HOLGUIN                                                                       DEL RIO
    JUDY F. MADEWELL                                                                       EL PASO
  BIANCA ROCHA DEL RIO                                                                 MIDLAND/ODESSA
   REGINALDO TREJO, JR.                                                                     PECOS
  SUPERVISORY ASSISTANTS                                                                    WACO


  Mr. Lyle W. Cayce, Clerk of the Court
  United States Court of Appeals, Fifth Circuit
  600 S. Maestri Place
  New Orleans, Louisiana 70130


  Re:      United States v. Jose Gomez Quiroz, Appeal No. 22-50834
           Quiroz’s Response to Government’s Rule 28(j) Letter

  Dear Mr. Cayce:

         The Government asserts that this Court should follow the reasoning in United
  States v. Jackson, No. 22-2870, 2023 WL 3769242 (8th Cir. June 2, 2023), rather than
  Range v. Att’y Gen., No. 21-2835, 2023 WL 3833404 (3d Cir. June 6, 2023) (en banc).
  Quiroz responds to the newly cited authority. See Fed. R. App. P. 28(j).

         Jackson is unpersuasive. First, Jackson concludes that Bruen’s historical step
  is more permissive of firearm regulations than the old means-end scrutiny
  framework. 2023 WL 3769242, at *7. No other court has taken this untenable
  position, which ignores that historical analysis was already required pre-Bruen. See
  New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111, 2131 (2022)
  (approving of the predominant framework’s first step). Second, Jackson endorses
  historical legislative discretion to determine who should be disarmed, in conflict with
  the central holding of Bruen. Compare 2023 WL 3769242, at *7, with Bruen, 142 S.
  Ct. at 2131 (rejecting judicial deference to legislatures). Third, Jackson’s historical
  evidence cannot be analogized to indictees and has already been rejected as broadly
  ahistorical or dubious by this Court. Compare 2023 WL 3769242, at *4–7, with United
  States v. Rahimi, 61 F.4th 443, 456–60 (5th Cir. 2023).

         The Government’s criticisms of Range are likewise unfounded. Range does not
  conflict with binding Fifth Circuit law. Darrington was abrogated by Bruen. It relied
  exclusively on United States v. Emerson, 270 F.3d 203 (5th Cir. 2001), which Bruen
          Case: 22-50834    Document: 98    Page: 2    Date Filed: 06/16/2023

Page 2                                                          FEDERAL PUBLIC DEFENDER
                                                                  WESTERN DISTRICT OF TEXAS



rendered “obsolete,” and specifically cited language this Court described as “means-
end scrutiny sub silentio.” See Rahimi, 61 F.4th at 450–51 (cleaned up); United States
v. Darrington, 351 F.3d 632, 633–34 (5th Cir. 2003). And Rahimi’s citation, in dicta,
to the Range panel opinion is not an implicit rejection of the subsequent en banc
opinion. To the contrary, Rahimi is broadly consistent with the en banc opinion’s
reasoning. Lastly, the 11-to-4 opinion was not “deeply divided.” And none of the
judges, not even in dissent, endorsed the Government’s position that the Second
Amendment only applies to “law-abiding” citizens. See Gov’t Br. 18–25. Nor did
Jackson.

                                        Respectfully Submitted,

                                        MAUREEN SCOTT FRANCO
                                        Federal Public Defender

                                        /S/
                                        TIMOTHY M. SHEPHERD
                                        Assistant Federal Public Defender



cc:      AUSAs Charles E. Fowler, Jr. and Joseph H. Gay, Jr.,
         U.S. Attorney’s Office
         Western District of Texas
         601 N.W. Loop 410, Suite 600
         San Antonio, Texas 78216
